                                  Case 18-08526-JJG-7A             Doc 13       Filed 01/30/19       EOD 01/30/19 11:46:21             Pg 1 of 1

                                                                                    Form 1                                                                               Page: 1

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:          18-08526 JJG                                                             Trustee: (340210)           John J. Petr
Case Name:            Ashley N. Pitts                                                          Filed (f) or Converted (c): 11/08/18 (f)
                                                                                               §341(a) Meeting Date:       12/11/18
Period Ending:        12/31/18                                                                 Claims Bar Date:            03/26/19

                                 1                                          2                         3                          4                  5                    6

                         Asset Description                             Petition/              Estimated Net Value             Property         Sale/Funds          Asset Fully
              (Scheduled And Unscheduled (u) Property)               Unscheduled         (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values              Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                Remaining Assets

 1       2005 Chevy Tahoe, 126000 miles                                     3,300.00                           0.00                                      0.00                   FA

 2       Household goods and furnishings                                    1,500.00                           0.00                                      0.00                   FA

 3       TV                                                                     300.00                         0.00                                      0.00                   FA

 4       Womens clothing.                                                       600.00                         0.00                                      0.00                   FA

 5       3 rings                                                                300.00                         0.00                                      0.00                   FA

 6       2 dogs                                                                 200.00                         0.00                                      0.00                   FA

 7       Deposits of money: Citizens Bank                                       100.00                         0.00                                      0.00                   FA
 8       Deposits of money: Citizens Bank                                        15.00                         0.00                                      0.00                   FA

 9       2018 federal and state tax refunds prorated to                     Unknown                        2,000.00                                      0.00             2,000.00
           the date of bankruptcy

 9       Assets           Totals (Excluding unknown values)              $6,315.00                        $2,000.00                                     $0.00            $2,000.00


     Major Activities Affecting Case Closing:
               Waiting on 2018 tax refunds.

     Initial Projected Date Of Final Report (TFR): June 30, 2019                           Current Projected Date Of Final Report (TFR): June 30, 2019




                 January 30, 2019                                                          /s/ John J. Petr
          __________________________                                                       _________________________________________________________________
                         Date                                                              John J. Petr



                                                                                                                                               Printed: 01/30/2019 10:09 AM   V.14.14
